Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 1 of 54 PageID #: 1842




               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

                                               Chapter 11
 In re
                                               Bankruptcy Case No. 20-10343
 Boy Scouts of America and Delaware BSA,       (LSS)
 LLC,
                  Debtors.                     (Jointly Administered)

 National Union Fire Insurance Co. of
 Pittsburgh, PA, et al.,
                     Appellants,

 v.                                            Case No. 22-cv-01237-RGA
 Boy Scouts of America and Delaware BSA,
 LLC,

                   Appellees.


                 OPENING BRIEF ON APPEAL OF
        THE LIBERTY INSURERS AND THE ALLIANZ INSURERS
      REGARDING TREATMENT OF CLASS 9 CLAIMS AND RELATED
                          MATTERS



                      (Counsel Listed on Following Pages)
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 2 of 54 PageID #: 1843




 SEITZ, VAN OGTROP & GREEN,                TROUTMAN PEPPER HAMILTON
 P.A.                                      SANDERS LLP
 R. Karl Hill (DE Bar No. 2747)            David M. Fournier (DE Bar No. 2812)
 222 Delaware Avenue                       Marcy J. McLaughlin Smith (DE No.
 Suite 1500                                6184) Hercules Plaza
 Wilmington, DE 19801                      1313 Market Street
 Telephone: (302) 888-0600                 Suite 5100
 Email: khill@svglaw.com                   P.O. Box 1709
                                           Wilmington, DE 19899-1709
 -and-                                     Telephone: 404.885.3000
 CHOATE, HALL & STEWART LLP                -and-
 Douglas R. Gooding (pro hac vice)
 Jonathan D. Marshall (pro hac vice)       PARKER, HUDSON, RAINER &
 Two International Place                   DOBBS LLP
 Boston, MA 02110                          Harris B. Winsberg (pro hac vice)
 Telephone: (617) 248-5000                 Matthew G. Roberts (pro hac vice)
 dgooding@choate.com                       303 Peachtree Street NE
 jmarshall@choate.com                      Suite 3600
                                           Atlanta, GA 30308
 -and-                                     Telephone: 404.420.4313
                                           Facsimile: 404.522.8409
 MINTZ, LEVIN, COHN, FERRIS,
 GLOVSKY AND POPEO PC                      -and-
 Kim V. Marrkand (pro hac vice)
 Laura Bange Stephens (pro hac vice        McDERMOTT WILL & EMERY
 forthcoming)                              LLP
 One Financial Center                      Margaret H. Warner
 Boston, MA 02111                          (pro hac vice)
 Telephone: (617) 542-6000                 Ryan S. Smethurst
 kvmarrkand@mintz.com                      (pro hac vice)
 lbstephens@mintz.com                      Alex M. Spisak
                                           (pro hac vice)
 Counsel to Liberty Mutual Insurance       The McDermott Building
 Company, The Ohio Casualty                500 North Capitol Street, NW
 Insurance Company, Liberty                Washington, DC 20001-1531
 Insurance Underwriters, Inc. and          Telephone: 202.756.8228
 Liberty Surplus Insurance                 Facsimile: 202.756.8087
 Corporation
                                           Attorneys for Allianz Global Risks US
                                           Insurance Company




                                       - ii -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 3 of 54 PageID #: 1844



                                        TROUTMAN PEPPER HAMILTON
                                        SANDERS LLP
                                        David M. Fournier (DE Bar No. 2812)
                                        Marcy J. McLaughlin Smith (DE No.
                                        6184)
                                        Hercules Plaza, Suite 5100
                                        1313 Market Street
                                        P.O. Box 1709
                                        Wilmington, DE 19899-1709
                                        Telephone: 302.777.6500
                                        Facsimile: 302.421.8390
                                        -and-
                                        PARKER, HUDSON, RAINER &
                                        DOBBS LLP
                                        Harris B. Winsberg (pro hac vice)
                                        Matthew G. Roberts (pro hac vice)
                                        303 Peachtree Street NE
                                        Suite 3600
                                        Atlanta, GA 30308
                                        Telephone: 404.420.4313
                                        Facsimile: 404.522.8409
                                        -and-
                                        BRADLEY RILEY JACOBS PC
                                        Todd C. Jacobs (pro hac vice)
                                        John E. Bucheit (pro hac vice)
                                        Paul J. Esker (pro hac vice)
                                        500 West Madison Street
                                        Suite 1000
                                        Chicago, IL 60661
                                        Telephone: 312.281.0295
                                        Attorneys for National Surety
                                        Corporation and Interstate Fire &
                                        Casualty Company




                                    - iii -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 4 of 54 PageID #: 1845




     CORPORATE DISCLOSURE AND STATEMENT OF INTEREST
      Pursuant to Rule 8012 of the Federal Rules of Bankruptcy Procedure, the

undersigned make the following disclosures:

      The Ohio Casualty Insurance Company, Liberty Insurance Underwriters, Inc.,

and Liberty Surplus Insurance Corporation state that 100% of the stock of each entity

is owned by Liberty Mutual Insurance Company. Liberty Mutual Group Inc. owns

100% of the stock of Liberty Mutual Insurance Company. No public company owns

10% or more of the stock of The Ohio Casualty Insurance Company, Liberty

Insurance Underwriters, Inc., Liberty Surplus Insurance Corporation, or Liberty

Mutual Insurance Company.

      Allianz Global Risks US Insurance Company f/k/a Allianz Insurance

Company (“AGR US”) is an Illinois corporation. Eighty percent (80%) of the voting

common stock of AGR US is held by Allianz of America, Inc., which is a wholly-

owned subsidiary of Allianz Europe B.V., which, in turn, is a wholly-owned

subsidiary of Allianz SE. Twenty percent (20%) of the voting common stock and

one hundred percent (100%) of the non-voting preferred stock of AGR US is held

by AGCS International Holding B.V., which is a wholly-owned subsidiary of

Allianz Global Corporate & Specialty SE, which, in turn, is a wholly-owned

subsidiary of Allianz SE. Allianz SE is publicly held.




                                        - iv -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 5 of 54 PageID #: 1846




      Interstate Fire & Casualty Company and National Surety Corporation are

Illinois corporations and wholly-owned subsidiaries of Fireman’s Fund Insurance

Company (“Fireman’s Fund”), an Illinois corporation. Fireman’s Fund, in turn, is a

wholly-owned subsidiary of AGR US, an Illinois corporation. Eighty percent (80%)

of the voting common stock of AGR US is held by Allianz of America, Inc., which

is a wholly-owned subsidiary of Allianz Europe B.V., a wholly-owned subsidiary of

Allianz SE. Twenty percent (20%) of the voting common stock and one hundred

percent (100%) of the non-voting preferred stock of AGR US is held by AGCS

International Holding B.V., a wholly-owned subsidiary of Allianz Global Corporate

& Specialty SE, which, in turn, is a wholly-owned subsidiary of Allianz SE. Allianz

SE is publicly held.




                                       -v-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 6 of 54 PageID #: 1847




                                         TABLE OF CONTENTS

PRELIMINARY STATEMENT ............................................................................... 2
JURISDICTIONAL STATEMENT .......................................................................... 5
ISSUES PRESENTED............................................................................................... 6
STATEMENT OF THE CASE .................................................................................. 6
I.       CLASS 9 CLAIMS .......................................................................................... 7
II.      JUDGMENT REDUCTION.......................................................................... 10
SUMMARY OF ARGUMENT ............................................................................... 13
ARGUMENT ........................................................................................................... 14
I.       THE BANKRUPTCY COURT ERRED IN FINDING THAT THE CLAIM
         ALLOWANCE PROCESS FOR INDIRECT ABUSE CLAIMS
         CONSTITUTES “TREATMENT” UNDER THE PLAN. ........................... 14
         A.       The Claim Allowance Provision Violates the Bankruptcy Code and
                  the Bankruptcy Rules .......................................................................... 14
         B.       The Insurer Proposed Changes Do Not Constitute An Issue of “Claim
                  Treatment” and Should Not Have Been Deemed Overruled Due to
                  Class 9 Acceptance.............................................................................. 21
II.      THE BANKRUPTCY COURT ERRED BY APPROVING THE
         DEBTORS’ JUDGMENT REDUCTION LANGUAGE.............................. 25
         A.       The Confirmation Order Was Error Because the Judgment Reduction
                  Clause Does Not Fairly Compensate the Insurers for the Loss of
                  Affirmative Recovery Claims ............................................................. 27
         B.       The Confirmation Order Also Must Be Reversed Because the
                  Judgment Reduction Clause’s Finality Requirement Is Improper and
                  Prejudicial ............................................................................................ 37
CONCLUSION ........................................................................................................ 41




                                                          - vi -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 7 of 54 PageID #: 1848




                                        TABLE OF AUTHORITIES

                                                                                                                   Page(s)

Cases
In re Allegheny Int’l, Inc.,
    954 F.2d 167 (3d Cir. 1992) ............................................................................... 16

In re Asarco LLC,
    420 B.R. 314 (S.D. Tex. 2009) .....................................................................37, 38

Blonder-Tongue Labs. v. Univ. of Ill. Found.,
   402 U.S. 313 (1971) ............................................................................................ 27

In re Butcher,
    459 B.R. 115 (Bankr. D. Colo. 2011) ................................................................. 24

Carr v Jacobs (In re New Century TRS Holdings, Inc.),
  No. 12-288-SLR, 2013 U.S. Dist. LEXIS 40919 (D. Del. Mar. 25,
  2013) ..................................................................................................................... 6

City of San Antonio v. Hotels.com, L.P.,
   141 S. Ct. 1628 (2021) ....................................................................................... 40

Eichenholtz v. Brennan,
   52 F.3d 478 (3d Cir. 1995) .....................................................................28, 29, 38

Franklin v. Kaypro Corp.,
   884 F.2d 1222 (9th Cir. 1989) ............................................................................ 29

In re Fraser’s Boiler Service, Inc.,
    No. 3:18-CV-05637-RBL, 2019 U.S. Dist. LEXIS 37840 (W.D.
    Wash. Mar. 8, 2019) ...............................................................................31, 32, 33

Gerber v. MTC Elec. Techs. Co.,
  329 F.3d 297 (2d Cir. 2003) ...................................................................30, 31, 34

Homestead Partners v. Condor One (In re Homestead Partners),
  200 B.R. 274 (Bankr. N.D. Ga. 1996) ................................................................ 16

In re Insilco Techs., Inc.,
    480 F.3d 212 (3d Cir. 2007) ............................................................................... 23

                                                           - vii -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 8 of 54 PageID #: 1849




In re Jiffy Lube Sec. Litig.,
    927 F.2d 155 (4th Cir. 1991) .............................................................................. 29

In re Johns,
    37 F.3d 1021 (3d Cir. 1994) .............................................................................. 23

Judd v. Wolfe (In re Judd),
   78 F.3d 110 (3d Cir. 1996) ................................................................................. 15

In re Kincaid,
    388 B.R. 610, 614 (Bankr. E.D. Pa. 2008) ........................................................ 16

Law Debenture Tr. Co. of N.Y. v. Trib. Media Co. (In re Trib. Media
  Co.),
  587 B.R. 606 (D. Del. 2018) ................................................................................. 6

Lawyer v. Dep't of Justice,
  521 U.S. 567 (1997) ............................................................................................ 28

Local No. 93, Int’l Ass’n of Firefighters v. City of Cleveland,
   478 U.S. 501 (1986) ............................................................................................ 28

Logan v. Zimmerman Brush Co.,
  455 U.S. 422 (1982) ............................................................................................ 27

Love v. State,
   583 N.E.2d 1296 (N.Y.1991) ............................................................................. 39

Mellon Bank, N.A. v. Metro Commc’ns, Inc.,
  945 F.2d 635 (3d Cir. 1991) ................................................................................ 6

Motor Vehicle Cas. Co. v. Thorpe Insulation Co. (In re Thorpe
  Insulation Co.),
  671 F.3d 980 (9th Cir. 2012) .............................................................................. 37

Mullane v. Cent. Hanover Bank & Tr. Co.,
  339 U.S. 306 (1950) ............................................................................................ 27

Ne. Gas Generation, LLC,
   639 B.R. 914 (Bankr. D. Del. 2022) .................................................................. 23




                                                      - viii -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 9 of 54 PageID #: 1850




Olin Corp. v. Lamorak Ins. Co.,
   No. 84-cv-1968 (JSR), 2018 U.S. Dist. LEXIS 65446 (S.D.N.Y.
   Apr. 17, 2018) ...............................................................................................39, 40

Papas v. Buchwald Cap. Advisors, LLC (In re Greektown Holdings,
  LLC),
  728 F.3d 567 (6th Cir. 2013) ............................................................29, 30, 31, 36

Pariseau v. Asset Acceptance, LLC (In re Pariseau),
  395 B.R. 492 (Bankr. M.D. Fla. 2008) ............................................................... 15

Plymouth Park Tax Servs. LLC v. Princeton Off. Park, LLC (In re
   Princeton Off. Park, L.P.),
   No. 14-2125 (MAS), 2015 U.S. Dist. LEXIS 10992 (D.N.J. Jan.
   30, 2015) ............................................................................................................. 16

Samson Energy Res. Co. v. Semcrude, L.P. (In re Semcrude, L.P.),
  728 F.3d 314 (3d Cir. 2013) ................................................................................. 5

In re Samson Res. Corp.,
    No. 15-11934 (BLS), 2017 Bankr. LEXIS 4294 (Bankr. D. Del.
    Dec. 13, 2017) ..................................................................................................... 15

Schweigert v. Schweigert,
   519 F. Supp. 3d 803 (D. Mont. 2021) ................................................................. 23

Scott v. Aegis Mortg. Corp. (In re Aegis Mortg. Corp.),
   No. 07-11119 (BLS), 2008 Bankr. LEXIS 1519 (Bankr. D. Del.
   May 22, 2008) ..................................................................................................... 15

TBG, Inc. v. Bendis,
  36 F.3d 916 (10th Cir. 1994) .............................................................................. 29

In re Trib. Co.,
    506 B.R. 613 (Bankr. D. Del. 2013) ................................................................... 22

In re U.S. Oil & Gas Litig.,
    967 F.2d 489 (11th Cir. 1992) ........................................................................... 28

United States v. Neff,
  787 F. App’x 81 (3d Cir. 2019) .......................................................................... 27



                                                          - ix -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 10 of 54 PageID #: 1851




In re Wegscheid,
    361 B.R. 144 (Bankr. D. Ariz. 2007).................................................................. 22

Wells Fargo Bank, N.A. v. Hertz Corp. (In re Hertz Corp.),
  637 B.R. 781 (Bankr. D. Del. 2021) ................................................................... 22

Statutes
11 U.S.C. § 502 .................................................................................................passim

11 U.S.C. § 509 ....................................................................................................8, 17

11 U.S.C. § 510 ....................................................................................................8, 17

11 U.S.C. § 1126 ...................................................................................................... 10

11 U.S.C. § 1129 ...............................................................................................passim

28 U.S.C. § 157 .......................................................................................................... 5

28 U.S.C. § 158 .......................................................................................................... 6

28 U.S.C. § 1334 ........................................................................................................ 5

Other Authorities
Federal Rule of Bankruptcy Procedure 3001(f)...................................7, 8, 14, 15, 21

Federal Rule of Bankruptcy Procedure 8002(a) ........................................................ 6

U.S. Const. amend. V............................................................................................... 27




                                                          -x-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 11 of 54 PageID #: 1852




      The Liberty Insurers1 and the Allianz Insurers2 (collectively, the “Insurers”)

hereby file this opening brief (the “Opening Brief”)3 pursuant to the Order Granting

Motion on Stipulation Regarding Appeals from Order Confirming Plan of

Reorganization of Boy Scouts of America and Delaware BSA, LLC (Dkt. No. 22)

(the “Stipulation Order”).4 Each of the Insurers filed one or more proofs of claim in

the Bankruptcy Court, or, with respect to those insurers who join in this Opening

Brief, intend to assert claims in the future to the extent payments are made in respect

of Direct Abuse Claims.5 The Debtors have classified the Insurers’ claims as Class

9 Indirect Abuse Claims.6 The Insurers therefore file this Opening Brief as creditors

of BSA to address two erroneous rulings made by the Bankruptcy Court that involve




      1
          “Liberty Insurers” means, collectively, The Ohio Casualty Insurance
 Company, Liberty Insurance Underwriters, Inc., Liberty Surplus Insurance
 Corporation, and Liberty Mutual Insurance Company. The Liberty Insurers may
 also be referred to herein as “Liberty Mutual” or “Liberty.”
       2
         “Allianz Insurers” means, collectively, Allianz Global Risks US Insurance
 Company, National Surety Corporation, and Interstate Fire & Casualty Company.
 The Allianz Insurers may also be referred to herein as “Allianz.”
       3
         The Insurers are signatories to the Opening Brief of Certain Insurers (the
 “Principal Brief”), filed contemporaneously herewith.
       4
         The Stipulation Order approved that certain Stipulation Regarding Appeals
 from Order Confirming Plan of Reorganization of Boy Scouts of America and
 Delaware BSA, LLC (Dkt. No. 13-1).
       5
         A. 11533-85. Citations to “A. X” are to the Certain Insurers’ Appendix to
 Opening Brief, submitted to the Court contemporaneously herewith.
       6
         See A. 10897-99 Art. III.F. Capitalized terms used but not defined herein
 shall have the meanings ascribed to them in the Plan. See generally A. 351-848.
                                         -1-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 12 of 54 PageID #: 1853




the allowance process for Class 9 claims and the ability to mitigate the size of such

claims through the application of appropriate judgment reduction provisions.

                        PRELIMINARY STATEMENT

      The Bankruptcy Court erred when it confirmed a plan that was designed to

violate the Bankruptcy Code and applicable state law, as well as strip away rights

that, absent the bankruptcy, the Insurers would be entitled to assert in any coverage

litigation. The Principal Brief explains at length the process by which the Plan was

proposed and solicited. The culmination of that process ensured that, in exchange

for the Claimant Representatives delivering a supermajority in support of the Plan

that would permit the issuance of broad third-party releases and the Debtors’ exit

from bankruptcy, the Claimant Representatives would be allowed to dictate the terms

of the decidedly insurance-prejudicial Plan. When viewed in their totality, the facts

surrounding the construction and confirmation of the Plan prove that it was not

proposed in good faith, thus violating Section 1129(a)(3) of the Bankruptcy Code.

      Putting aside the issue of bad faith that permeates the construction and

confirmation of the Plan, there is an entirely independent reason why it was error to

confirm the Plan: it violates the Bankruptcy Code and applicable state law and thus

fails to satisfy Section 1129(a)(1) of the Bankruptcy Code. While this concept is

also discussed in the Principal Brief, the Liberty Insurers and the Allianz Insurers

raised two independent issues in their respective objections to confirmation that


                                        -2-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 13 of 54 PageID #: 1854




highlight how the Plan fails to comply with Section 1129(a)(1),7 each of which the

Bankruptcy Court overruled.8 This Opening Brief asks that the Court reverse the

Bankruptcy Court on each of those holdings.

      First, the Insurers are or will be entitled under the Insurance Policies and

applicable law to assert claims against one or more of the Protected Parties, such as

the Debtors and Settling Insurance Companies. Known as “Indirect Abuse Claims,”

these claims that the Insurers are entitled to assert may be for, among other things,

defense costs, deductibles, or indemnification obligations that, absent the

bankruptcy, would be owed to the Insurers by the Debtors or another Protected Party.

Under the Plan, such Indirect Abuse Claims are channeled to the Settlement Trust.9

The Debtors have represented to the Bankruptcy Court that both Indirect Abuse

Claims and Direct Abuse Claims of individuals will be paid in full.10

Understandably, the Insurers do not object to such treatment. But “payment in full”

of Indirect Abuse Claims is illusory here. Only “allowed” claims receive payment;

and the Debtors acceded to the Claimant Representatives’ demand to institute



      7
          See A. 8599-607 ¶¶ 29-42; A. 8396-401 ¶¶ 15-25; A. 8995-99 ¶¶ 4-9.
      8
           The independent issues that the Liberty Insurers and the Allianz Insurers
raised below and are now discussed in this Opening Brief are not directly addressed
in the Principal Brief.
        9
          A. 421-22.
        10
           See A. 12496 ¶ 294 n.445 (“Class 8 and Class 9 will receive payment in
 full.”) (emphasis added).
                                        -3-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 14 of 54 PageID #: 1855




procedures that effectively prohibit any Indirect Abuse Claim from ever being

allowed. The procedures for determining the allowance of the Insurers’ Indirect

Abuse Claims (the “TDPs”) shift the burden onto the Insurers to satisfy requirements

in a manner not contemplated by, and wholly contrary to, Section 502 of the

Bankruptcy Code. As discussed below, this is the exact result that the Debtors and

Claimant Representatives have always intended with respect to Indirect Abuse

Claims. In a clear error, the Bankruptcy Court overruled the Insurers’ objection on

this point, concluding that such objection was effectively moot because it related to

treatment of the Insurers’ claims and not, as the Insurers submit, the process for

allowance of such claims.

      Second, the Bankruptcy Court declined the Insurers’ request to modify the

Plan to include appropriate—and fully compensatory—judgment reduction

language. A properly drafted judgment reduction would compensate the Insurers

for the loss of their claims (e.g., contribution or reimbursement) against the Settling

Insurance Companies as a result of the Releases and Injunctions. To do so, judgment

reduction at a minimum must provide for the decrease of any judgment entered

against an Insurer by the amount the Insurer—but for the Releases and Injunctions—

would have recovered on its claim against the applicable Settling Insurance

Companies. This mechanism, however, is sufficiently compensatory only if the

Insurer’s claim is less than the underlying judgment. To the extent that the amount


                                         -4-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 15 of 54 PageID #: 1856




of the Insurer’s claim exceeds the underlying judgment, full compensation requires

an affirmative recovery for the difference.       Without this backstop, judgment

reduction falls short, which is a distinct possibility here since Allianz has pending

claims against certain Settling Insurance Companies. Nevertheless, the Bankruptcy

Court declined the Insurers’ request to include an affirmative recovery backstop

within the judgment reduction. Making matters worse, the Bankruptcy Court also

declined the Insurers’ request to excise from the judgment reduction language an

improper and asymmetrical finality-of-judgment requirement. This requirement

applies to the Insurers and Settlement Trust unfairly, by (among other things)

restricting an Insurer’s application of any reduction until expiration or exhaustion of

all appeals with respect to such offset while no such burden was imposed upon the

Settlement Trust. The language that the Bankruptcy Court ultimately chose further

proves that the Plan violates not only applicable law, but also the Insurers’ rights

under their Insurance Policies.

                       JURISDICTIONAL STATEMENT

      The Bankruptcy Court had jurisdiction pursuant to 28 U.S.C. §§ 157(b) and

1334 and confirmed the bankruptcy plan on September 8, 2022.11 The Liberty

Insurers and Allianz Insurers appealed that final judgment on September 21, 2022.12


      11
          A. 349.
       12
          See A. 10195-228; A. 10101-27; Samson Energy Res. Co. v. Semcrude, L.P.
 (In re Semcrude, L.P.), 728 F.3d 314, 317-18 (3d Cir. 2013).
                                         -5-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 16 of 54 PageID #: 1857




This Court has jurisdiction pursuant to 28 U.S.C. § 158(a)(1) and Federal Rule of

Bankruptcy Procedure 8002(a).

                              ISSUES PRESENTED

      The Insurers identify the following issues on appeal without waiver of the

more detailed Statement of Issues filed with this Court on October 3, 2022.

1.    Whether the Bankruptcy Court erred in confirming a plan that provides for a

claims allowance process that violates 11 U.S.C. § 502 and related Federal Rules of

Bankruptcy Procedure.

2.    Whether the Bankruptcy Court erred in confirming a plan that impermissibly

impairs the Appellants’ rights under the judgment reduction clause.

      Both questions present pure issues of law, which this Court reviews de novo.13

                         STATEMENT OF THE CASE

      This Opening Brief adopts the Statement of the Case as set forth in the

Principal Brief for general background information regarding this case.14 The


      13
          Law Debenture Tr. Co. of N.Y. v. Trib. Media Co. (In re Trib. Media Co.),
 587 B.R. 606, 612 (D. Del. 2018) (“The court reviews . . . de novo the Bankruptcy
 Court’s construction of Section 1129 and relevant provisions of the Bankruptcy
 Code.”), aff’d, 972 F.3d 228 (3d Cir. 2020); see Carr v Jacobs (In re New Century
 TRS Holdings, Inc.), No. 12-288-SLR, 2013 U.S. Dist. LEXIS 40919, at *1-2 (D.
 Del. Mar. 25, 2013) (citing Mellon Bank, N.A. v. Metro Commc’ns, Inc., 945 F.2d
 635, 642 (3d Cir. 1991)) (“[The court] exercise[s] ‘plenary review of the
 [bankruptcy] court’s choice and interpretation of legal precepts and its application
 of those precepts to the historical facts.’”).
       14
          Principal Brief, Statement of the Case.


                                        -6-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 17 of 54 PageID #: 1858




Statement of the Case in this Opening Brief provides additional details on Class 9

claims and judgment reduction.

I.     CLASS 9 CLAIMS

       On April 21, 2022, Liberty filed the Statement Regarding Closing Argument

of Liberty Mutual Insurance Company in Support of its Joinder and Objection to the

Third Modified Fifth Amended Chapter 11 Plan of Reorganization15 (the “Liberty

Post-Trial Brief”) identifying Liberty’s independent confirmation objections that

had not been resolved to date. Principal among them was that the claim allowance

process for Indirect Abuse Claims in Article IV.B of the TDPs (the “Claim

Allowance Provision”) violates Section 502 of the Bankruptcy Code and Bankruptcy

Rule 3001(f).16 The Insurers jointly proposed changes (the “Insurer Proposed

Changes”) that would reconcile the Claim Allowance Provision with the Bankruptcy

Code and Bankruptcy Rules.17



       15
          A. 8993-9009.
       16
          See, e.g., id. ¶¶ 4-5.
       17
          Prior to Liberty filing its Post-Trial Brief, the Insurers submitted the Insurer
 Proposed Changes to the Debtors and Claimant Representatives as a means for
 resolving the Insurers’ objection to Article IV.B of the TDPs. See A. 9004. The
 Debtors and Claimant Representatives rejected the Insurer Proposed Changes and
 provided a draft of their own proposed revisions to Article IV.B of the TDPs. See
 A. 9005-06. A redline reflecting the Insurer Proposed Changes as compared to the
 Claim Allowance Provision that was proposed by the Debtors and Claimant
 Representatives and ultimately approved in material part by the Bankruptcy Court
 reflects the difference in the parties’ positions. See A. 9007-08. The changes noted

                                          -7-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 18 of 54 PageID #: 1859




        Among other requirements, the Claim Allowance Provision in Article IV.B of

the TDPs requires each Indirect Abuse Claimant to prove that its Indirect Abuse

Claim is not subject to disallowance under Section 502 of the Bankruptcy Code and

is not subject to subordination under Sections 509(c) or 510 of the Bankruptcy

Code.18 If an Indirect Abuse Claimant fails to convince the Settlement Trustee that

its claim satisfies these and other requirements of the Claim Allowance Provision,

such claim will be disallowed and not entitled to payment under the Plan even if it

is valid under state law and the parties’ contracts.19 In essence, the Claim Allowance

Provision requires the Insurers to prove a negative to the satisfaction of the

Settlement Trustee, and flips the normal claim allowance procedure—pursuant to

which a claim is deemed allowed absent an objection by a party in interest—on its

head.

        In its July 29, 2022 opinion (the “Opinion”), the Bankruptcy Court concluded,

among other things, that to the extent that any party objected to the treatment of

Indirect Abuse Claims, such objections were overruled because Class 9 had voted to

accept the Plan.20 The Insurers agree that any objection by a Class 9 creditor to the



 in the redline, see id., to the Insurer Proposed Changes are those that the Insurers
 submit violate Section 502 of the Bankruptcy Code and Bankruptcy Rule 3001(f).
       18
          A. 509 Art. IV.B.
       19
          See id.
       20
          A. 265 (“Class 9 accepted its treatment and insurers are, therefore, bound
 by the class vote.”).
                                         -8-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 19 of 54 PageID #: 1860




treatment of Class 9 claims should be overruled because Class 9 voted to accept the

Plan. The Insurers’ objection does not relate to treatment.

      Also in its Opinion, the Bankruptcy Court separately concluded that “[t]he

allowance of a claim is distinct from treatment of a claim and the [Class 9] vote does

not bind a dissenting creditor with respect to whether its claim is allowed.”21 The

Bankruptcy Court went on to hold that Indirect Abuse Claimants would be entitled

to judicial review of their claims to the extent the Settlement Trustee disallowed any

such claims.22 Notably, the Bankruptcy Court did not explicitly state whether the

Opinion was intended to overrule the Insurer Proposed Changes.

      On September 1, 2022, the Bankruptcy Court held a hearing (the “September

1 Hearing”) to consider the Debtors’ Motion to Amend and Supplement the Findings

of Fact and Conclusions of Law in the Confirmation Opinion Pursuant to Fed. R.

Bankr. P. 7052 and Fed. R. Civ. P. 52 and to resolve certain pending objections to

the Plan and the TDPs.23 At that hearing, counsel for Liberty requested clarification

as to whether the Bankruptcy Court had intended for the Opinion to overrule the




      21
          Id.
       22
          Id. Allowing for post-disallowance judicial review does not remedy the
 infirmity in the Claim Allowance Provision. As discussed more fully below, the
 Claim Allowance Provision impermissibly shifts the burdens of proof and turns on
 its head the protections of the Bankruptcy Code and Bankruptcy Rules.
       23
          See A. 9260-375.


                                        -9-
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 20 of 54 PageID #: 1861




Insurer Proposed Changes.24 Counsel for the Future Claimants Representative (the

“FCR”) stated that it was the FCR’s position that the Insurer Proposed Changes had

in fact been overruled. The FCR’s counsel stated that the Bankruptcy Court had

“overruled objections with respect to treatment” and that counsel was “not sure what

this is if not treatment of indirect abuse claims.”25 The Bankruptcy Court agreed,

noting without elaboration that it believed the Insurer Proposed Changes concerned

treatment, stating “I think it’s treatment, it was voted on.”26 By implication, because

Class 9 had accepted the Plan pursuant to Section 1126 of the Bankruptcy Code, and

because the Insurer Proposed Changes were deemed to address an issue of claim

treatment (not allowance), the Insurer Proposed Changes were deemed overruled.

II.   JUDGMENT REDUCTION

      Following a long and hard-fought contest, beginning with the Insurers’

objections to Confirmation27 and continuing through post-trial submissions28 and

hearings,29 the Debtors agreed in principle to the Insurers’ request for a judgment


      24
           A. 9342-43.
        25
           A. 9347.
        26
           Id. The Bankruptcy Court did not elaborate on its brief remark that claim
 allowance is synonymous with claim treatment, nor at any time prior to the
 September 1 Hearing did the Bankruptcy Court request that the parties brief the
 issue.
        27
           See, e.g., A. 8587 ¶ 23 & n.31, A. 8603 ¶ 36 & n.62.
        28
           See A. 9022 ¶ 2.
        29
           A. 9324-32; A. 9999-10006.


                                        - 10 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 21 of 54 PageID #: 1862




reduction provision; and the parties worked in earnest to find mutually satisfactory

language to accomplish the task. These efforts bore fruit, including the Enabling

Clause (set forth and defined below).30 But the parties ultimately were unable to

agree upon the judgment reduction provision itself and presented dueling proposals

to the Bankruptcy Court.31 The Bankruptcy Court selected the Debtors’ proposed

language (with one change not relevant here)32 and entered the Confirmation Order33

containing the Judgment Reduction Clause (set forth and defined below).34

      The judgment reduction provisions of the Confirmation Order begin with the

following “Enabling Clause”:

            Notwithstanding any terms or provisions in the Plan, Plan
            Documents, Insurance Settlements, Settlement Trust
            Documents (including the Trust Distribution Procedures),
            this Order, any finding of fact and/or conclusion of law
            with respect to Confirmation of the Plan (including any
            other provision that purports to be preemptory or
            supervening), any right, claim or cause of action for
            contribution, subrogation, equitable subrogation,
            indemnification, allocation, reimbursement or offset
            relating to one or more Abuse Claims that a Non-Settling
            Insurance Company is or may have been entitled to assert
            against any Settling Insurance Company but for the
            Channeling Injunction, the Insurance Entity Injunction or
            other protections in the Plan shall be channeled to and

      30
         Compare A. 9185-87, with A. 337-38 ¶ 51(a); see also A. 10003.
      31
         A. 9376-77.
      32
         Id.
      33
         See A. 282-848 (the “Confirmation Order”).
      34
         A. 337-38.


                                       - 11 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 22 of 54 PageID #: 1863




               become a right, claim or cause of action solely against the
               Settlement Trust . . . and not against the Settling Insurance
               Company in question, and the sole recourse of the Non-
               Settling Insurance Company asserting such claim against
               the Settlement Trust . . . shall be by means of judgment
               reduction as provided herein.35

The Confirmation Order then provides (as follows, the “Judgment Reduction

Clause”):

               If a Non-Settling Insurance Company obtains a final and
               non-appealable judicial determination or binding
               arbitration award in any Insurance Action, that it would
               have been entitled to recover a sum certain on its right,
               claim or cause of action against a Settling Insurance
               Company for contribution, subrogation, indemnification,
               allocation, reimbursement or offset relating to one or more
               Abuse Claims, or the Settlement Trustee . . . agrees to such
               entitlement to such sum certain, upon such determination
               or award in the Insurance Action, the liability for such sum
               certain or such agreement shall be satisfied solely by the
               Settlement Trust . . . reducing or limiting any claim, cause
               of action or judgment it has against the Non-Settling
               Insurance Company for recovery on any Abuse Claim that
               gave rise to such right, claim or cause of action for
               contribution, subrogation, equitable subrogation,
               indemnification, allocation, reimbursement or offset. The
               Settlement Trust . . . shall not seek to enforce any judicial
               determination or binding arbitration award it has obtained
               against a Non-Settling Insurance Company that is seeking
               such reduction until the Settlement Trust’s . . . judgment
               or award becomes final and non-appealable. Post-
               judgment interest shall not accrue with respect to the
               portion of any such claim that is so reduced by a Final
               Order as a result of a claim for contribution, subrogation,
               equitable subrogation, indemnification, allocation,

      35
           Id. ¶ 51(a).


                                          - 12 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 23 of 54 PageID #: 1864




                  reimbursement or offset relating to one or more Abuse
                  Claims.36

                              SUMMARY OF ARGUMENT
         The Bankruptcy Court erred in two ways when it confirmed a plan that

deprived the Insurers of certain rights afforded to them under the Bankruptcy Code,

state law, and their Insurance Policies.

         First, under the Plan, all Indirect Abuse Claims, including any claims the

Insurers would be entitled to assert against one or more Protected Parties under their

respective Insurance Policies, are to be channeled to the Settlement Trust. Although

the Debtors have represented that such claims will be paid in full, the allowance

process for such claims effectively ensures that Indirect Abuse Claims uniformly

will be disallowed and thus never will be entitled to a recovery. The TDPs

impermissibly shift the burden of the claim allowance process onto the Insurers in

direct contradiction of Section 502 of the Bankruptcy Code and related Bankruptcy

Rules.        In overruling the Insurers’ objection to the Plan as to this issue, the

Bankruptcy Court erroneously conflated claim treatment with claim allowance.

         Second, the Bankruptcy Court erred when it declined the Insurers’ request to

modify the Plan to enhance the language related to judgment reduction. The

judgment reduction language included in the Plan mandates only that any judgment



         36
              A. 338-39 ¶ 51(b).
                                           - 13 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 24 of 54 PageID #: 1865




against an Insurer be reduced by the amount such Insurer would have recovered in

an action against the applicable Settling Insurance Company(ies) now protected by

the Releases and Injunctions under the Plan. This language fails to compensate the

Insurers in the event their respective claim(s) exceed the underlying judgment

against such Insurer. The judgment reduction language, moreover, includes an

imbalanced finality-of-judgment requirement that is improper and prejudicial.

Under this scheme, any reduction to which an Insurer is entitled may not be offset

from the underlying judgment until expiration or exhaustion of the appeal from such

reduction, while entry of the full (unreduced) underlying judgment itself is not so

restricted. The Bankruptcy Court therefore also erroneously confirmed the Plan

without modifying the judgment reduction language to (i) remove the finality-of-

judgment requirement and (ii) include supplementary judgment reduction language

entitling the Insurers to affirmatively recover the difference between their claim and

the underlying judgment.

                                   ARGUMENT

I.    THE BANKRUPTCY COURT ERRED IN FINDING THAT THE
      CLAIM ALLOWANCE PROCESS FOR INDIRECT ABUSE CLAIMS
      CONSTITUTES “TREATMENT” UNDER THE PLAN.

      A.     The Claim Allowance Provision Violates the Bankruptcy Code and
             the Bankruptcy Rules.

      The Claim Allowance Provision violates the requirements and creditor-

protections of Section 502 of the Bankruptcy Code and Bankruptcy Rule 3001(f).

                                        - 14 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 25 of 54 PageID #: 1866




As a result, the Plan fails to comply with Section 1129(a)(1) of the Bankruptcy Code

and confirming it was error.

      Section 502(a) states that a claim that is properly filed is deemed allowed

unless and until a party in interest objects.37 “For most creditors, the fundamental

right enjoyed in bankruptcy is the right to file a proof of claim . . . .”38 The proof of

claim “is presumed to be prima facie valid until an objection is filed. It is an efficient

process that gives all sides an opportunity to assert their position.”39 Furthermore,

“Bankruptcy Rule 3001(f) provides that a proof of claim executed and filed in

accordance with the rules of procedure, i.e., includes the facts and documents

necessary to support the claim, constitutes prima facie evidence of the validity and

amount of the claim.”40 When a party properly files a proof of claim, as each of the

Insurers has done, the claim is presumptively valid, and “[t]he objecting party carries

the burden of going forward with the evidence in support of its objection which


      37
          11 U.S.C. § 502(a); see Scott v. Aegis Mortg. Corp. (In re Aegis Mortg.
 Corp.), No. 07-11119 (BLS), 2008 Bankr. LEXIS 1519, at *17-18 (Bankr. D. Del.
 May 22, 2008) (“A proof of claim is deemed allowed unless a party in interest
 objects in a timely fashion. 11 U.S.C. § 502(a). Pursuant to 11 U.S.C. § 502(b), if
 a party makes such an objection, the court must determine the allowed amount of
 the contested claim after notice and a hearing. 11 U.S.C. § 502(b).”).
       38
          Judd v. Wolfe (In re Judd), 78 F.3d 110, 114 (3d Cir. 1996).
       39
          Pariseau v. Asset Acceptance, LLC (In re Pariseau), 395 B.R. 492, 495
 (Bankr. M.D. Fla. 2008).
       40
          In re Samson Res. Corp., No. 15-11934 (BLS), 2017 Bankr. LEXIS 4294,
 at *5 (Bankr. D. Del. Dec. 13, 2017).


                                          - 15 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 26 of 54 PageID #: 1867




mu[st] be of a probative force equal to that of the allegations of the creditor’s proof

of claim.”41 The party opposing the claim must come forward with one or more of

the nine exceptions to allowance under Section 502(b); otherwise, the court “shall

allow” the claim.42

      The Claim Allowance Provision turns this concept on its head. The Debtors

recognized that “[t]o the extent that non-Debtor third parties have rights under the

Insurance Policies, those non-Debtors can assert their rights against the Settlement

Trust as Indirect Abuse Claims.”43         Under the applicable provisions of the

Bankruptcy Code and Bankruptcy Rules, proofs of claim are prima facie evidence




      41
           Id. (citing In re Kincaid, 388 B.R. 610, 614 (Bankr. E.D. Pa. 2008)); see In
 re Allegheny Int’l, Inc., 954 F.2d 167, 173 (3d Cir. 1992) (“[A] claim that alleges
 facts sufficient to support a legal liability to the claimant satisfies the claimant’s
 initial obligation to go forward. The burden of going forward then shifts to the
 objector to produce evidence sufficient to negate the prima facie validity of the filed
 claim.”).
        42
           Plymouth Park Tax Servs. LLC v. Princeton Off. Park, LLC (In re Princeton
 Off. Park, L.P.), No. 14-2125 (MAS), 2015 U.S. Dist. LEXIS 10992, at *13 (D.N.J.
 Jan. 30, 2015) (“Even where a party objects, however, the court ‘shall allow’ the
 claim unless one of the nine exceptions enumerated in § 502(b) applies.”), aff’d,
 649 F. App’x 137, 2016 U.S. App. LEXIS 8343 (3d Cir. 2016) (unpublished);
 Homestead Partners v. Condor One (In re Homestead Partners), 200 B.R. 274, 277
 & n.2 (Bankr. N.D. Ga. 1996) (“Claims enjoy a presumption of validity under the
 Bankruptcy Code. See 11 U.S.C. § 502(a). When a party in interest objects to a
 proof of claim, the Code specifically directs that the claim ‘shall be allowed’ unless
 one of nine exceptions, such as that for unmatured interest, should happen to
 apply. See 11 U.S.C. § 502(b).”).
        43
           A. 10897-99 Art. III.F.


                                         - 16 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 27 of 54 PageID #: 1868




of the validity and amount of such Indirect Abuse Claims. However, the TDPs shift

the burden away from the Settlement Trustee (to object) and on to the Indirect Abuse

Claimant (to affirmatively prove the validity of its claim).44 To meet this unjustified

burden, the Indirect Abuse Claimant must traverse a gauntlet of requirements,

including proving, among other things, that its Indirect Abuse Claim is not subject

to disallowance under Section 502 or subordination under Sections 509(c) or 510.45

As applied to Indirect Abuse Claims, the Claim Allowance Provision improperly

shifts the burdens under, and imposes additional requirements for allowance that

violate, the Bankruptcy Code and Bankruptcy Rules.

      The roadblocks to claim allowance imposed by the TDPs underscore the

extent of the Debtors’ and Claimant Representatives’ efforts to effectively disallow

all Indirect Abuse Claims. Prior drafts of the TDPs provided that the payment of

Indirect Abuse Claims was to be subordinated to payment in full of Direct Abuse

Claims, making it highly unlikely Indirect Abuse Claims would ever receive a

recovery under the Plan.46 In response to Liberty Mutual’s objection to the Debtors’




      44
          A. 509 Art. IV.B.
       45
          Id.
       46
          See A. 13148 Art. XI.A (“Indirect Abuse Claims that become Allowed
 Indirect Abuse Claims shall receive distributions in accordance with Article IX
 hereof, provided, however, that any Indirect Abuse Claim shall be subordinate
 and junior in right to the prior payment in full of all Allowed Abuse Claims

                                        - 17 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 28 of 54 PageID #: 1869




Disclosure Statement,47 the TDPs were revised to remove this concept. However,

the intent remains clear—to construct as many obstacles as the Bankruptcy Court

may permit to prevent Indirect Abuse Claims from being allowed and paid pari

passu with Direct Abuse Claims.            That is because, from the Claimant

Representatives’ perspective, affording Indirect Abuse Claims pari passu treatment

with Direct Abuse Claims will dilute recoveries on Direct Abuse Claims and, by

extension, the sizeable contingency fees that the Direct Abuse Claimants’ attorneys

will collect.

       Perhaps in recognition of the infirmities in the claims allowance process, the

Bankruptcy Court ruled in its Opinion that the Insurers “are entitled to judicial

review of their claims once the Settlement Trustee has made her determinations.”48

But subsequent judicial review does not, and cannot, remedy the deficiencies

inherent in the Claim Allowance Provision. As an initial matter, it is unclear what

the focus of any judicial review will be. If a court subsequently reviews whether the

Insurers complied with the terms of the TDPs such that their claim should have been

allowed by the Settlement Trustee, instead of whether the Insurers have a

presumptively allowed claim pursuant to the Bankruptcy Code and Bankruptcy



 that are Direct Abuse Claims as liquidated under these TDP.”) (second
 emphasis added).
      47
         See A. 10814.
      48
         A. 258 (emphasis added).
                                        - 18 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 29 of 54 PageID #: 1870




Rules, then such judicial review simply swaps the identity of the reviewer without

rectifying the underlying problems of the Claim Allowance Provision. The Insurers

still effectively would be foreclosed from asserting their Indirect Abuse Claims if

they were required to prove a negative—that is, that their claims are not subject to

disallowance or subordination—to a judge as opposed to the Settlement Trustee.

      If, on the other hand, the purpose of subsequent judicial review is to assess

compliance with the Bankruptcy Code, then the review merely highlights the very

problem with the Claim Allowance Provision. It was error to approve TDPs with a

claims allowance process that fundamentally violates the Bankruptcy Code and

Bankruptcy Rules. Moreover, limiting the Insurers to a subsequent judicial review,

where the protections of the Bankruptcy Code and Bankruptcy Rules presumably

would apply, is inequitable and impractical. Each Indirect Abuse Claimant whose

claim is never allowed by the Settlement Trustee, or whose claim is allowed at an

amount that the Indirect Abuse Claimant disputes, must expend the time and

resources to have its claim reviewed by a court of competent jurisdiction.

      Making matters worse, a party asserting an Indirect Abuse Claim “must

establish to the satisfaction of the Settlement Trustee” that each and every element

of the Claim Allowance Provision is satisfied.49 As more fully set forth in the



      49
           A. 509 Art. IV.B.


                                       - 19 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 30 of 54 PageID #: 1871




Principal Brief,50 there is a “mismatch [of] fiduciary duties”51 requiring the

Settlement Trustee to oversee the allowance of all Abuse Claims but remain

beholden to the members of the Settlement Trust Advisory Committee (“STAC”),

which is comprised of members of the plaintiffs’ law firms whose clients are

asserting Direct Abuse Claims. The STAC members are focused on payment of their

clients’ Direct Abuse Claims, notwithstanding that the STAC is required to “serve

in a fiduciary capacity representing current holders of Abuse Claims” (i.e., both

Direct and Indirect Abuse Claims).52 But the composition of the STAC proves that

there is an irreconcilable difference between treatment of the Class 8 Direct Abuse

Claimants—who are the clients of the STAC members—and Class 9 Indirect Abuse

Claimants.

      The TDPs should have been modified in one of two ways: by either (i)

eliminating the requirements that violate the Bankruptcy Code and Bankruptcy

Rules (as the Insurers requested through the Insurer Proposed Changes); or (ii)

permitting holders of Indirect Abuse Claims to elect a judicial review of their claims

in the first instance, rather than restricting such judicial review to a post-hoc

assessment conducted after the Settlement Trustee’s determination.           But the




      50
         Principal Brief, Statement of the Case pt. II.A.4.(d).
      51
         See A. 3781-82 (Williams).
      52
         A. 612 § 6.2.
                                        - 20 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 31 of 54 PageID #: 1872




Bankruptcy Court rejected the Insurers’ request to modify the Claim Allowance

Provision. Consequently, the now-approved claims allowance process under the

TDPs violates Section 502 of the Bankruptcy Code and Bankruptcy Rule 3001(f),

rendering the Plan unconfirmable because it fails to comply with Section 1129(a)(1)

of the Bankruptcy Code.

      B.     The Insurer Proposed Changes Do Not Constitute An Issue of
             “Claim Treatment” and Should Not Have Been Deemed Overruled
             Due to Class 9 Acceptance.

      Claim allowance and claim treatment are distinct issues.53 Although the

Bankruptcy Court ultimately ruled that the claims allowance procedures in Article

IV.B of the TDPs constituted treatment, which the Insurers submit was error, the

Bankruptcy Court nevertheless recognized that “[t]he allowance of a claim is distinct

from treatment of a claim . . . .”54 This distinction was even recognized by the

drafters of the TDPs, who separately provided for allowance of an Indirect Abuse

Claim (Article IV.B) and treatment of such claims (Article XI).55 To be clear, the


      53
          Compare 11 U.S.C. § 502 (governing allowance of claims), with 11 U.S.C.
 § 1129 (governing claim treatment in a chapter 11 reorganization).
       54
          A. 265.
       55
          See A. 527 Art. XI.A (“To be eligible to receive compensation from the
 Settlement Trust, the holder of an Indirect Abuse Claim must satisfy Article IV.B
 hereof. Indirect Abuse Claims that become Allowed Indirect Abuse Claims shall
 receive distributions in accordance with Article IX hereof and shall be subject to
 the same liquidation and payment procedures as the Settlement Trust would have
 afforded the holders of the underlying valid Direct Abuse Claims pursuant to
 Articles VIII and IX hereof.”).


                                       - 21 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 32 of 54 PageID #: 1873




Insurers do not object to the proposed treatment of their allowed Indirect Abuse

Claims set forth in Article XI of the TDPs.56 The Debtors confirmed in their brief

in support of confirmation that “Class 8 and Class 9 will receive payment in full.”57

Recognizing that there is no basis to treat Indirect Abuse Claims separately—let

alone, less favorably—than Direct Abuse Claims, the Debtors and Claimant

Representatives have pivoted to ensuring that Indirect Abuse Claims will never be

allowed. That is why the Insurers’ objection before the Bankruptcy Court, which

issue is now on appeal, is whether the conditions for allowance of Indirect Abuse

Claims under Article IV.B of the TDPs violate the requirements and creditor-

protections of the Bankruptcy Code and Bankruptcy Rules.

      Courts have consistently held that the claim allowance process is “entirely

distinct from confirmation of a plan that determines how an allowed claim is to be

treated.”58 The claim allowance process is a standalone analysis that asks “what is


      56
          As noted above, id., an allowed Indirect Abuse Claim is subject to the same
 liquidation and payment procedures afforded to Direct Abuse Claims.
       57
          A. 12496 ¶ 294 n.445 (emphasis added).
       58
          In re Wegscheid, 361 B.R. 144, 148 (Bankr. D. Ariz. 2007); see also Wells
 Fargo Bank, N.A. v. Hertz Corp. (In re Hertz Corp.), 637 B.R. 781, 793 (Bankr. D.
 Del. 2021) (cautioning against “conflating the allowance of claims with the
 treatment of claims.”); In re Trib. Co., 506 B.R. 613, 618 (Bankr. D. Del. 2013)
 (“[T]he best interests of creditors test is applied in chapter 11 when considering a
 plan’s treatment of allowed claims, but this does not answer the question of whether
 a claim should be allowed. Claims allowance is governed by Bankruptcy Code
 §502.”).


                                       - 22 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 33 of 54 PageID #: 1874




the maximum dollar amount of a creditor’s claim that the Bankruptcy Code will

recognize for the purpose of a pending bankruptcy case?”59 In contrast, claim

treatment is the separate process that follows only after a claim has become an

allowed claim.60 Indeed, bankruptcy plan distribution schemes are wholly premised

on claims being allowed in the first place.61 In short, a claim is allowed, and then

treatment is addressed separately.

      This distinct two-step process is underscored by Section 1129(b)’s cram-down

treatment requirements. Section 1129(b)(2) sets minimum treatment standards that

are based solely on a creditor’s allowed claim amount. The standards for cram-down

treatment (and any treatment of creditors more generally) presuppose that the

creditors have allowable claims. To the extent such creditors lack allowable claims,

they are not entitled to any treatment whatsoever.




      59
          Schweigert v. Schweigert, 519 F. Supp. 3d 803, 810 (D. Mont. 2021).
       60
          See In re Insilco Techs., Inc., 480 F.3d 212, 216 (3d Cir. 2007) (quoting In
 re Johns, 37 F.3d 1021, 1023 n.1 (3d Cir. 1994)) (“An ‘allowed claim’ is one that
 will serve as the basis for distribution.”).
       61
          See Ne. Gas Generation, LLC, 639 B.R. 914, 923 (Bankr. D. Del. 2022)
 (“The Plan is clear and unambiguous about the allowance, and treatment, of the
 First Lien Claims. They are allowed in full ($539 million) and receive their pro rata
 share of the equity in the reorganized debtor and $200 million of Reinstated First
 Lien Debt.”).


                                        - 23 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 34 of 54 PageID #: 1875




      The court in In re Butcher examined the dichotomy between claim allowance

and claim treatment.62 The court first held that if a creditor’s claim treatment “is not

to its liking, the creditor must object or risk being bound by the plan’s provisions.”63

However, the court held that because objections concerning the “validity and

amount” of a creditor’s claim raise issues separate from claim treatment, such

objections were not constrained by objection deadlines dictated by the plan

confirmation process.64 The court ruled that requiring a creditor to resolve issues

concerning claim allowance as part of the plan confirmation and treatment process

would wrongly “collapse[] claim allowance and confirmation of a plan’s treatment

of claims into a single process.”65

      The Bankruptcy Court’s oral ruling at the September 1 Hearing effectively

collapsed the separate issues of claim allowance and treatment into a single

process.66 The Insurers recognize that Class 9 did, in fact, vote to accept its

treatment, which is why the Insurers are not contesting the treatment of Class 9

creditors set forth in Article XI of the TDPs (nor is there any incentive to, as such

claims are to be paid in full).67       But the Insurers respectfully submit that,


      62
         459 B.R. 115, 130-32 (Bankr. D. Colo. 2011).
      63
         Id. at 132.
      64
         Id.
      65
         Id.
      66
         See A. 9347.
      67
         See supra n.10.
                                         - 24 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 35 of 54 PageID #: 1876




notwithstanding the outcome of the Class 9 vote, they should not have been

foreclosed from arguing that the allowance provisions for Indirect Abuse Claims are

improper under applicable provisions of the Bankruptcy Code and Bankruptcy

Rules.

II.      THE BANKRUPTCY COURT ERRED BY APPROVING THE
         DEBTORS’ JUDGMENT REDUCTION LANGUAGE.

         The Judgment Reduction Clause fails to fully and fairly compensate the

Insurers for the value of their Recovery Claims (defined below) impaired by the

Plan.     As a result, the Plan is noncompliant with Sections 1129(a)(1)68 and

1129(a)(3)69 of the Bankruptcy Code, and confirming it was in error.

         The Enabling Clause and Judgment Reduction Clause, set forth in full

above,70 work together to administer and partially satisfy certain inter-insurer claims.

The Enabling Clause is a supervening provision that channels to the Settlement Trust

a Non-Settling Insurance Company’s “right, claim or cause of action” against a

Settling Insurance Company “for contribution, subrogation, equitable subrogation,

indemnification, allocation, reimbursement or offset relating to one or more Abuse




         68
          Providing, in relevant part, that a plan must “compl[y] with the applicable
 provisions of [Title 11].” 11 U.S.C. § 1129(a)(1).
       69
          Providing, in relevant part, that a plan must “ha[ve] been proposed in good
faith and not by any means forbidden by law.” 11 U.S.C. § 1129(a)(3).
       70
          See supra Statement of the Case pt. II.


                                         - 25 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 36 of 54 PageID #: 1877




Claims”71 (herein, a “Recovery Claim”). The Judgment Reduction Clause then

controls how—or, more accurately, whether—the Settlement Trust satisfies these

channeled Recovery Claims.72 If a court determines that a Recovery Claim in

respect of a certain Abuse Claim would have entitled a Non-Settling Insurance

Company to a sum-certain from a Settling Insurance Company (but for the Releases

and Injunctions), then the Settlement Trustee will offset the amount of the Recovery

Claim from any judgment the Settlement Trustee obtains against the Insurer for the

same Abuse Claim.73

      At first blush, these provisions may seem unobjectionable. But the Judgment

Reduction Clause suffers from two flaws that render it legally deficient. First, it

permits a judgment offset only and does not contemplate any possibility of an

affirmative recovery from the Settlement Trust.74 This deficiency, coupled with the

Enabling Clause and the remainder of the Confirmation Order as it relates to

Recovery Claims (e.g., the Releases and Injunctions), impermissibly strips the

Insurers of the value of any Recovery Claim exceeding the underlying judgment.

Second, the Judgment Reduction Clause contains a finality-of-judgment



      71
         A. 338 ¶ 51(a).
      72
         See generally A. 338-39 ¶ 51(b).
      73
         See id.
      74
         See id.


                                       - 26 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 37 of 54 PageID #: 1878




requirement that applies exclusively to Recovery Claims—and not to the Settlement

Trust’s underlying judgment75—which is both unnecessary and prejudicial. For

these reasons, and as set forth in greater detail below, the Insurers respectfully submit

that the Confirmation Order constitutes error and must be reversed.

      A.     The Confirmation Order Was Error Because the Judgment
             Reduction Clause Does Not Fairly Compensate the Insurers for the
             Loss of Affirmative Recovery Claims.

      It is a cornerstone of American law76 that there be no deprivation of “life,

liberty or property by adjudication” without due process.77 And as the Supreme

Court has long held, “a cause of action is a species of property protected by the . . .

Due Process Clause.”78 Courts therefore typically must afford litigants a full and

fair opportunity to litigate their claims before extinguishing them.79 This is equally

true with respect to court-approved settlements that affect the legal rights of

nonconsenting litigants.80    As such, “a settlement agreement subject to court


      75
          See id.
      76
          See U.S. Const. amend. V.
       77
          Mullane v. Cent. Hanover Bank & Tr. Co., 339 U.S. 306, 313 (1950).
       78
          Logan v. Zimmerman Brush Co., 455 U.S. 422, 428 (1982) (citing Mullane,
 339 U.S. at 311, 313, 315); see also United States v. Neff, 787 F. App’x 81, 91 (3d
 Cir. 2019) (unpublished) (“An entitlement to a remedy is like an entitlement to
 money (the most common remedy).”).
       79
          See Blonder-Tongue Labs. v. Univ. of Ill. Found., 402 U.S. 313, 329 (1971).
       80
          Local No. 93, Int’l Ass’n of Firefighters v. City of Cleveland, 478 U.S. 501,
 529 (1986) (“Of course, parties who choose to resolve litigation through settlement
 may not dispose of the claims of a third party, and a fortiori may not impose duties

                                         - 27 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 38 of 54 PageID #: 1879




approval . . . may not impose duties or obligations on an unconsenting [sic] party or

‘dispose’ of his claims . . . in the forbidden sense of cutting him off from a remedy

to which he was entitled.”81

      But the practical realities of complex, multiparty litigation—or, more

specifically, the partial settlement of multiparty litigation—often are at odds with

these due process principles. Defendants in multiparty litigation, for example, may

face claims derivative of the underlying litigation, such as indemnity, contribution,

or other related causes, brought (or held) by their co-defendants (generically, a

“Derivative Claim”).82 These defendants are understandably unlikely to settle

without some form of protection from such Derivative Claims.83 To resolve the

issue, partial settlements in multiparty litigation often involve a bar order, which




 or obligations on a third party, without that party’s agreement.”); see also id. (“A
 court’s approval of a consent decree between some of the parties therefore cannot
 dispose of the valid claims of nonconsenting intervenors . . . .”).
       81
          Lawyer v. Dep’t of Justice, 521 U.S. 567, 579 (1997) (citing Local No. 93,
 478 U.S. at 529).
       82
          Eichenholtz v. Brennan, 52 F.3d 478, 486 (3d Cir. 1995) (quoting In re U.S.
 Oil & Gas Litig., 967 F.2d 489, 494 (11th Cir. 1992)).
       83
          See id. (“Defendants, who are willing to settle, ‘buy little peace through
 settlement unless they are assured that they will be protected against co-defendants’
 efforts to shift their losses . . . .’”) (internal citations omitted).


                                        - 28 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 39 of 54 PageID #: 1880




extinguishes a non-settling defendant’s right to recover its Derivative Claims from

a settling defendant.84

       There is, however, an obvious tension between a settling defendant’s desire

for finality through a bar order and a non-settling defendant’s legally protected

interest in its Derivative Claims. To harmonize these competing objectives, the

Third Circuit, joined by many others, has held that a bar order must provide for

adequate compensation when extinguishing a non-settling defendant’s Derivative

Claims.85

       This compensation often takes the form of judgment reduction.86 Judgment

reduction generally provides for any judgment entered against a non-settling

defendant to be decreased by the amount such defendant would have recovered on

its Derivative Claims (were they still extant).87 Put differently, judgment reduction

affords each non-settling defendant a judgment credit worth $X in return for

eliminating its Derivative Claim worth $X—an even exchange.                A defensive



       84
          See, e.g., TBG, Inc. v. Bendis, 36 F.3d 916, 923 (10th Cir. 1994) (“[C]ourts
 often have barred claims for contribution . . . when the parties to a partial settlement
 have requested a bar order.”).
       85
          Eichenholtz, 52 F.3d at 486-87; In re Jiffy Lube Sec. Litig., 927 F.2d 155,
 160 (4th Cir. 1991); Franklin v. Kaypro Corp., 884 F.2d 1222, 1231 (9th Cir. 1989).
       86
          E.g., Papas v. Buchwald Cap. Advisors, LLC (In re Greektown Holdings,
 LLC), 728 F.3d 567, 579 (6th Cir. 2013).
       87
          See id.


                                         - 29 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 40 of 54 PageID #: 1881




(offsetting) judgment reduction therefore typically is sufficient to adequately

compensate the litigants whose Derivative Claims simply allocate proportional

fault.88

       But not all Derivative Claims are so constrained. A non-settling defendant

may have a Derivative Claim for relief beyond apportionment of relative fault (e.g.,

a claim for reimbursement). Put differently, a non-settling defendant may have a

Derivative Claim for which the damages sought do not consist solely of “the non-

settling defendant[][’s] liability to the plaintiff[].”89 And the value of that Derivative

Claim may exceed such non-settling defendant’s share of the underlying judgment—

assuming the non-settling defendant suffers an adverse judgment to begin with. In

either scenario, purely defensive judgment reduction cannot compensate the non-

settling defendant for the (full) value of her extinguished claim: it is only possible to

set-off if (or to the extent that) the amount of the underlying judgment against such

non-settling defendant is not less than the value of her Derivative Claim.90




       88
         See id.
      89
         Gerber v. MTC Elec. Techs. Co., 329 F.3d 297, 307 (2d Cir. 2003).
      90
          Cf. Papas, 728 F.3d at 579 (“Ordinarily, the potential harshness of a bar
 order is mitigated by a judgment credit provision that protects a nonsettling party
 from paying damages exceeding its own liability.”) (internal citations and
 quotations omitted).


                                          - 30 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 41 of 54 PageID #: 1882




Otherwise, an offsetting judgment reduction shortchanges the non-settling defendant

for the amount by which the latter exceeds the former.

      As courts have held repeatedly, claims left uncompensated by a judgment

reduction clause should not be extinguished.91 In In re Fraser’s Boiler Service,

Inc.,92 for example, the District Court for the Western District of Washington

reversed a bankruptcy court order that, among other things, included an

insufficiently compensatory judgment reduction clause. The Fraser’s Boiler appeal

arose out of a prebankruptcy settlement agreement (the “FBS Settlement”) between

a defunct manufacturer (“FBS”) and some of its insurers (the “Settling FBS

Insurers”).93 The FBS Settlement provided for, among other things, a permanent

injunction against claims related to the Settling FBS Insurers’ policies, including




      91
           See Gerber, 329 F.3d at 306 (“If, however, [the non-settling defendant] . . .
 has not been compensated for those losses by the judgment credit . . . such claims
 should not be extinguished.”); see also id. (citing cases from the 10th and 11th
 Circuits); Papas, 728 F.3d at 579 (“[C]ourts that have allowed bar orders have only
 barred claims in which the damages are measured by the defendant’s liability to the
 plaintiff. . . . This limitation makes sense because when the scope of a bar order is
 limited to claims for contribution or indemnity, the court can compensate the non-
 settling defendants for the loss of those claims by reducing any future judgment
 against them. A bar order that enjoins independent claims and provides no
 compensation is problematic to say the least.”) (internal citations and quotations
 omitted).
        92
           No. 3:18-CV-05637-RBL, 2019 U.S. Dist. LEXIS 37840 (W.D. Wash. Mar.
 8, 2019).
        93
           Id. at *6-7.


                                         - 31 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 42 of 54 PageID #: 1883




certain claims that FBS’ remaining (non-settling) insurers (the “Remaining FBS

Insurers”) held against the Settling FBS Insurers (the “FBS Claims”).94 After

reaching the FBS Settlement with the Settling FBS Insurers, FBS filed a voluntary

petition for relief under Chapter 11 and sought approval of the FBS Settlement and

related injunction-in-aid.95

      The bankruptcy court thereafter approved the FBS Settlement over the

Remaining FBS Insurers’ objections and entered an order (the “Buyback Order”)

authorizing the transaction.96 As particularly relevant here, the Buyback Order also

(i) permanently enjoined the FBS Claims and (ii) included judgment reduction

language.97   This language (as follows, the “FBS Reduction”) provided: “any

judgment on any [FBS] Claim against one or more [Remaining FBS] Insurers shall

be reduced by the adjudicated amount of any [FBS] Claim such [Remaining FBS]

Insurer would have been able to successfully assert against the [FBS] Insurers.”98

On appeal, FBS claimed that the Buyback Order should be affirmed because the FBS

Reduction adequately protected the Remaining FBS Insurers’ interests.99



      94
         See id. at *7.
      95
         See id.
      96
         See id.
      97
         Id. at *7-8.
      98
         Id. at *28.
      99
         See id.


                                       - 32 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 43 of 54 PageID #: 1884




      Judge Leighton disagreed.100 In his opinion reversing the Buyback Order,

Judge Leighton analyzed the suitability of the FBS Reduction and found it wanting,

holding that it “provide[d] almost no protection.”101 He based this decision, in part,

on the defensive-only (offsetting) nature of the FBS Reduction, which “only offset[]

costs . . . [in the event of] a judgment against one of [the Remaining FBS

Insurers].”102 As a result of this structure, “if the [Remaining FBS] Insurers were to

successfully defend against a claim, there would be no way for them to offset such

costs under the [FBS Reduction].”103 The operative judgment reduction, in other

words, lacked any mechanism by which the non-settling defendants (the Remaining

FBS Insurers) could recover on their Derivative Claims (the FBS Claims) that

exceeded the underlying judgment.

      That is precisely the problem here. The Judgment Reduction Clause, much

like the FBS Reduction at issue in Fraser’s Boiler, lacks any provision for the

satisfaction of Recovery Claims that exceed the Insurer’s share of the underlying

judgment.104 Instead, the Judgment Reduction Clause permits defensive offsets (i.e.,




      100
          See id. at *29.
      101
          Id. at *31.
      102
          Id.
      103
          Id. at *30 (emphasis in original).
      104
          Compare id., with A. 338-39 ¶ 51(b).


                                        - 33 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 44 of 54 PageID #: 1885




a credit up to the amount of the underlying judgment) only105—and even then, only

if the Recovery Claim and underlying judgment arose out of the same Abuse

Claim.106 After giving effect to the Injunctions and Releases, the upshot is that any

amount of a Recovery Claim greater than the underlying judgment (if any) against

the Insurer is extinguished without just compensation in return.107

      This is fundamentally inconsistent with the purpose of judgment reduction

and the constitutional imperative on which it is based.108 A payment less than the

value of the property taken in exchange—or worse, no payment at all—is not just

compensation.109 The harm, moreover, is not academic. The record shows that up

to 90% of the aggregate liability for Abuse Claims can be allocated to the Settling

Insurance Companies’ policies,110 which increases the likelihood of inter-insurer

Recovery Claims against the Settling Insurance Companies should the Settlement

Trust achieve a litigated recovery from an Insurer that—but for the Releases and


      105
            See A. 338-39 ¶ 51(b).
      106
            Id.
        107
            Compare A. 325 ¶ 36(b) (“[A]ll Persons that have held or asserted, that
 hold or assert, or that may in the future hold or assert any claim or cause of action .
 . . against any Insurance Company based upon, attributable to, arising out of, or in
 any way connected with any Abuse Insurance Policy or other insurance policy
 issued by a Setting Insurance Company covering Abuse Claims . . . shall be stayed,
 restrained, and enjoined . . . .”), and A. 330-31 ¶ 41(Release), with A. 337-39 ¶ 51.
        108
            Cf. Gerber, 329 F.3d at 306.
        109
            Cf. id.
        110
            A. 5872; A. 10511 at 259:25-260:25.


                                         - 34 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 45 of 54 PageID #: 1886




Injunctions—would have been a Settling Insurance Company’s obligation to pay.

This is compounded by the Settling Insurance Companies’ participation in the

Debtors’ insurance program vis-à-vis the Insurers. Specifically, many of Insurers’

policies are excess to one or more of the Settling Insurance Companies’ policies

(including, e.g., Allianz as excess to INA in 1980).111

      Rulings in Insurance Actions will determine whether or to what extent an

Abuse Claim even reaches an Insurer’s excess policy—which in turn dictates the

amount, if any, of a judgment against the Insurer in the Insurance Action. If, for

example, Allianz were to obtain a favorable coverage ruling in an Insurance Action,

indicating that the applicable Abuse Claim implicates only INA’s underlying

primary policy, Allianz would not suffer any adverse judgment against it; but Allianz

may have (and succeed upon) a Recovery Claim against INA112 for reimbursement

of defense costs associated with the Insurance Action and/or Abuse Claim. The

Confirmation Order, however, restrains Allianz from seeking satisfaction of its

Recovery Claim from INA, a Settling Insurance Company.113 Allianz’s sole remedy

would be to set off its Recovery Claim, under the Judgment Reduction Clause,




      111
           A. 12730-34.
       112
           For clarity, under the Channeling Injunction and the Enabling Clause, the
 Settlement Trustee (as successor to INA) would be the named defendant.
       113
           See A. 325-26 ¶ 36(b), 337-38 ¶ 51(b).


                                        - 35 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 46 of 54 PageID #: 1887




against a judgment that does not exist.114 Allianz would lose 100% of the value of

its Recovery Claim as a result. The possibility of such an outcome is not simply

hypothetical: A state-court action involving, among other things, an Allianz

Insurer’s Recovery Claim(s) against INA (among other Settling Insurance

Companies) has been pending since 2017.115

      This is at best unfair, and at worst unconstitutional.116 But either way, neither

Allianz nor any other Insurer should be stripped of valuable property rights—here,

Recovery Claims—without just compensation.           To prevent that outcome, any

Recovery Claim (or the portion thereof) exceeding the underlying judgment against

the Insurer should be assertable against the Settlement Trust as an Indirect Abuse

Claim and paid out as such under the TDPs.117 Indeed, several courts have afforded




      114
           See A. 338-39 ¶ 51(b).
       115
           See A. 10304-05 ¶ 2; A. 10384 ¶ 2. For clarity, the underlying state-court
 action was filed in 2017, and certain claims for, e.g., contribution or indemnity
 followed in later years.
       116
           Papas, 728 F.3d at 579 (“A bar order that enjoins independent claims and
 provides no compensation is problematic to say the least.”).
       117
           Treating these Recovery Claims (or the applicable portion thereof) as
 Indirect Abuse Claims under the TDPs provides for compensation to the Insurers
 without prejudice to the Direct Abuse Claimants because, according to the Debtors
 and the Bankruptcy Court, “Direct Abuse Claims will be paid in full.” A. 79; see
 also supra n.10. In other words, this treatment will not prioritize payment to the
 Insurers at the expense of the Direct Abuse Claimants.


                                        - 36 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 47 of 54 PageID #: 1888




similar protections to non-settling insurers in similar situations.118        Without a

comparable mechanism here, entry of the Confirmation Order was error and must be

reversed.

       B.    The Confirmation Order Also Must Be Reversed Because the
             Judgment Reduction Clause’s Finality Requirement Is Improper
             and Prejudicial.

       The Confirmation Order also must be reversed because the Judgment

Reduction Clause contains an inappropriate and imbalanced finality-of-judgment

requirement. The Judgment Reduction Clause provides, in pertinent part, that an

Insurer’s entitlement to a Recovery Claim must be adjudged “final and non-

appealable” before application of the resulting setoff against the underlying

judgment.119 But the underlying judgment itself need not be “final and non-



       118
           See, e.g., In re Asarco LLC, 420 B.R. 314, 377 (S.D. Tex. 2009) (“If
 judgment reduction is unavailable . . . and the Non-Settling Asbestos Insurance
 Company incurred attorneys’ fees and expenses in connection with defending . . .
 the Non-Settling Asbestos Insurance Company may seek reimbursement of such
 attorneys’ fees and expenses . . . by bringing an action against the Section 524(g)
 Trust . . . .”); Motor Vehicle Cas. Co. v. Thorpe Insulation Co. (In re Thorpe
 Insulation Co.), 671 F.3d 980, 997 (9th Cir. 2012) (noting that “[t]he order further
 provides that in direct action litigation, if the non-settling insurer is found to have a
 claim against a settling insurer for litigation costs, and they are unable to recover
 those costs through a judgment reduction, then the non-settling insurer can bring an
 action against the Trust for that amount.”).
       119
           A. 338-39 ¶ 51(b) (“If a Non-Settling Insurance Company obtains a final
 and non-appealable judicial determination or binding arbitration award in any
 Insurance Action, that it would have been entitled to recover a sum certain on its
 [Recovery Claim] . . . upon such determination or award in the Insurance Action,

                                          - 37 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 48 of 54 PageID #: 1889




appealable” before entry against the Insurer, nor is it automatically stayed pending

exhaustion of appeal.120 There are at least two problems with this asymmetry.

       First, it is completely unnecessary.121        The only reason offered for the

imbalance was that the Settlement Trust may have to “un-reduce [its] judgment or

further reduce [its] judgment based on the outcome of any appeal” which purportedly

will create “a whole host of procedural complexities” and “all sorts of difficulties

for the trust in terms of reserves, accounting, reporting, [and] potential taxes . . . .”122

But this argument is unavailing. As a threshold matter, it was unaccompanied by

any evidence—or even an explanation—of the “procedural complexities” and/or

“difficulties” implicated.123 More to the point, the finality-of-judgment requirement

does not prevent a “reduc[tion] [of the Settlement Trust’s] judgment based on the


 the liability for such sum certain . . . shall be satisfied solely by the Settlement Trust
 . . . reducing or limiting . . . .”).
         120
             See id.
         121
             Indeed, it is not even common. Neither Eichenholtz nor Asarco, for
 example, involved lopsided language. See Eichenholtz, 52 F.3d at 481 (“The
 proposed final agreement also expressly barred the plaintiffs ‘from seeking from
 the non-settling defendants any amount greater than the proportionate liability, if
 any, of the non-settling defendants for any damages, if any, determined at trial . . .
 .’”); Asarco, 420 B.R. at 378 (“If any Contribution Claim . . . is determined to be
 valid under applicable non-bankruptcy law . . . by the court presiding over the
 Insurance Action or the Defense Cost Action then . . . the amount of any judgment
 . . . shall be reduced by the full amount so determined of such Contribution Claim .
 . . .”).
         122
             A. 10008.
         123
             See id.


                                           - 38 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 49 of 54 PageID #: 1890




outcome of any appeal.”124 Unless (i) no party ever appeals a Recovery Claim or

(ii) the Settlement Trust successfully defeats every appealed Recovery Claim in its

entirety, the Settlement Trust necessarily will have to “reduce [its] judgment based

on the outcome of [the] appeal”125 because the Judgment Reduction Clause would

have prevented an earlier reduction. The Judgment Reduction Clause’s finality

requirement, in other words, does not even serve the manufactured purpose for

which it was proposed.

      Second, the lopsided language in the Judgment Reduction Clause leads to

absurd—and prejudicial—results. For example, the asymmetrical language permits

(or, at least, does not proscribe) the accrual of prejudgment interest on the entirety

of any underlying judgment against an Insurer, even though the full amount may be

reduced pending resolution of an offsetting Recovery Claim.126 This makes little

sense as a practical matter and is clearly prejudicial to the affected Insurer. It is also

contrary to the purpose of prejudgment interest, which is compensatory in nature.127


      124
            Id.
        125
            Id.
        126
            See generally A. 338-39 ¶ 51(b). While the Judgment Reduction Clause
 prevents the accrual of post-judgment interest “with respect to the portion of any
 such claim that is so reduced,” it fails to address pre-judgment interest. A. 339.
        127
            See, e.g., Olin Corp. v. Lamorak Ins. Co., No. 84-cv-1968 (JSR), 2018 U.S.
 Dist. LEXIS 65446, at *45 (S.D.N.Y. Apr. 17, 2018) (quoting Love v. State, 583
 N.E.2d 1296, 1298 (N.Y. 1991) (“[Prejudgment] interest is not a penalty. Rather,
 it is simply the cost of having the use of another person’s money for a specified

                                          - 39 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 50 of 54 PageID #: 1891




In addition to permitting unwarranted prejudgment interest, the asymmetrical

finality language in the Judgment Reduction Clause enables the Settlement Trust to

attempt to execute on the entire underlying judgment pending appeal.128 And while

there is an effort in the Judgment Reduction Clause to circumscribe that outcome,

by providing that the Settlement Trust “shall not seek to enforce” the underlying

judgment until it “becomes final and non-appealable,”129 this language is cold

comfort. It lacks both an enforcement mechanism and a remedy for its violation.130

Therefore, without application of the setoff amount (if any) at the time of the

underlying judgment, the Insurers are left with the Hobson’s choice of either moving

for a stay pending appeal—on every Insurance Action involving a disputed Recovery

Claim—or risking the possibility of an attempt to execute on the full amount of the

underlying judgment, the remedy for which is unspecified.




 period . . . and is not meant to punish defendants for delaying the final resolution of
 the litigation.”). Olin Corp. is particularly instructive. It involved, among other
 things, a dispute as to whether prejudgment interest on a judgment—which was
 subject to reduction on account of an offsetting contribution claim—should be
 applied before or after the offset. See id. at *12. According to Judge Rakoff, “pre-
 judgment interest is properly calculated on the damages amount that [defendant] is
 ordered to pay after application of a set-off or judgment reduction.” Id. at *46
 (emphasis added).
        128
            Cf. City of San Antonio v. Hotels.com, L.P., 141 S. Ct. 1628, 1632 (2021)
 (“Unless a . . . stay is granted, the prevailing party can attempt to execute on [its]
 judgment while an appeal is pending.”).
        129
            A. 338-39 ¶ 51(b).
        130
            See id.
                                         - 40 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 51 of 54 PageID #: 1892




      Saddling the Insurers with the risk of any of these outcomes is inappropriate

and inequitable. It is also entirely avoidable. Instead of attempting to treat the

symptoms of asymmetrical finality language (e.g., accrual of postjudgment interest),

the better approach is to cure the disease. To that end, the Confirmation Order should

be reversed.

                                  CONCLUSION

      For the foregoing reasons, the Court should reverse.




                                        - 41 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 52 of 54 PageID #: 1893




Dated: November 7, 2022

Respectfully Submitted,


 SEITZ, VAN OGTROP & GREEN,                TROUTMAN PEPPER HAMILTON
 P.A.                                      SANDERS LLP
 /s/ R. Karl Hill     _                    /s/ David M. Fournier     _
 R. Karl Hill (DE Bar No. 2747)            David M. Fournier (DE Bar No. 2812)
 222 Delaware Avenue                       Marcy J. McLaughlin Smith (DE No.
 Suite 1500                                6184) Hercules Plaza
 Wilmington, DE 19801                      1313 Market Street
 Telephone: (302) 888-0600                 Suite 5100
 Email: khill@svglaw.com                   P.O. Box 1709
                                           Wilmington, DE 19899-1709
 -and-                                     Telephone: 404.885.3000
 CHOATE, HALL & STEWART LLP                -and-
 Douglas R. Gooding (pro hac vice)
 Jonathan D. Marshall (pro hac vice)       PARKER, HUDSON, RAINER &
 Two International Place                   DOBBS LLP
 Boston, MA 02110                          Harris B. Winsberg (pro hac vice)
 Telephone: (617) 248-5000                 Matthew G. Roberts (pro hac vice)
 dgooding@choate.com                       303 Peachtree Street NE
 jmarshall@choate.com                      Suite 3600
                                           Atlanta, GA 30308
 -and-                                     Telephone: 404.420.4313
                                           Facsimile: 404.522.8409
 MINTZ, LEVIN, COHN, FERRIS,
 GLOVSKY AND POPEO PC                      -and-
 Kim V. Marrkand (pro hac vice)
 Laura Bange Stephens (pro hac vice        McDERMOTT WILL & EMERY
 forthcoming)                              LLP
 One Financial Center                      Margaret H. Warner
 Boston, MA 02111                          (pro hac vice)
 Telephone: (617) 542-6000                 Ryan S. Smethurst
 kvmarrkand@mintz.com                      (pro hac vice)
 lbstephens@mintz.com                      Alex M. Spisak
                                           (pro hac vice)
 Counsel to Liberty Mutual Insurance       The McDermott Building
 Company, The Ohio Casualty                500 North Capitol Street, NW
 Insurance Company, Liberty                Washington, DC 20001-1531
 Insurance Underwriters, Inc. and          Telephone: 202.756.8228
 Liberty Surplus Insurance                 Facsimile: 202.756.8087
 Corporation
                                           Attorneys for Allianz Global Risks US
                                           Insurance Company



                                       - 42 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 53 of 54 PageID #: 1894



                                        TROUTMAN PEPPER HAMILTON
                                        SANDERS LLP
                                        /s/ David M. Fournier      _
                                        David M. Fournier (DE Bar No. 2812)
                                        Marcy J. McLaughlin Smith (DE No.
                                        6184)
                                        Hercules Plaza, Suite 5100
                                        1313 Market Street
                                        P.O. Box 1709
                                        Wilmington, DE 19899-1709
                                        Telephone: 302.777.6500
                                        Facsimile: 302.421.8390
                                        -and-
                                        PARKER, HUDSON, RAINER &
                                        DOBBS LLP
                                        Harris B. Winsberg (pro hac vice)
                                        Matthew G. Roberts (pro hac vice)
                                        303 Peachtree Street NE
                                        Suite 3600
                                        Atlanta, GA 30308
                                        Telephone: 404.420.4313
                                        Facsimile: 404.522.8409
                                        -and-
                                        BRADLEY RILEY JACOBS PC
                                        Todd C. Jacobs (pro hac vice)
                                        John E. Bucheit (pro hac vice)
                                        Paul J. Esker (pro hac vice)
                                        500 West Madison Street
                                        Suite 1000
                                        Chicago, IL 60661
                                        Telephone: 312.281.0295
                                        Attorneys for National Surety
                                        Corporation and Interstate Fire &
                                        Casualty Company




                                    - 43 -
Case 1:22-cv-01237-RGA Document 43 Filed 11/07/22 Page 54 of 54 PageID #: 1895




                    CERTIFICATION OF COMPLIANCE
The foregoing brief was prepared on a computer using Microsoft Word.               A
proportionally spaced typeface was used, as follows:
      Name of typeface: Times New Roman
      Point size: 14
      Line spacing: Double
The total number of words in the brief, excluding the items set forth in Federal Rule
of Bankruptcy Procedure 8015(g), is 9909.


/s/ R. Karl Hill     _
R. Karl Hill (DE Bar No. 2747)
Seitz, Van Ogtrop & Green, P.A.
222 Delaware Avenue
Suite 1500
Wilmington, DE 19801
Telephone: (302) 888-0600
Email: khill@svglaw.com
Date: November 7, 2022




                                       - 44 -
